                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                3:15-CR-00077-RJC-DCK
 USA                                              )
                                                  )
     v.                                           )                 ORDER
                                                  )
 DURAL SAMUELS                                    )
                                                  )

          THIS MATTER is before the Court upon the government’s Motion for Revocation of

Magistrate Judge’s Release Order, pursuant to 18 U.S.C. § 3145(a), (Doc. No. 17), and the

defendant’s Response, (Doc. No. 19).

          The defendant was recently arrested pursuant to an indictment charging him conspiracy

to commit wire fraud and a substantive wire fraud offense. (Doc. No. 3: Indictment). A

magistrate judge in this district ordered the defendant’s release after a hearing on April 9, 2015,

consistent with the recommendation in the United States Pretrial Services report, but over the

government’s objection. (Doc. No. 13: Order). The Release Order was stayed pending review by

this Court.

          A district court is required to make an independent, de novo determination when acting

on a motion to review a magistrate judge’s pretrial release order. United States v. Stewart, 19 F.

App’x 46, 48 (4th Cir. 2001)(citing United States v. Rueben, 974 F.2d 580, 585-86 (5th Cir.

1992). However, a district court is not required to hold an additional evidentiary hearing as part

of its review. United States v. King, 849 F.2d 485, 489-90 (11th Cir. 1988); United States v.

Hare, 873 F.2d 796, 799 (5th Cir. 1989). After conducting its independent review, a district

court may explicitly adopt the magistrate judge’s order without making duplicate findings, or

may state additional reasons supporting its decision. King, 849, F.2d at 490-91.




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       Accordingly, the Court has reviewed the entire record in this case de novo. The Court

finds that the magistrate judge correctly assessed the factors set forth in 18 U.S.C. § 3142(g) in

reaching the conclusion that there are conditions that will reasonably assure the appearance of

the defendant as required and adopts the magistrate judge’s order.

       IT IS, THEREFORE, ORDERED that the government’s Motion, (Doc. No. 17), is

DENIED, and the defendant may be released according to the terms of the Release Order, (Doc.

No. 13).

                                                  Signed: April 23, 2015




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